 4:15-cr-03101-RGK-CRZ           Doc # 15   Filed: 10/01/15   Page 1 of 2 - Page ID # 20




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiff,                                 4:15CR3101
      vs.
                                                                 ORDER
JOSE GONZALEZ-LEGARDA,
                    Defendant.


      Defense counsel has moved to withdraw due to a conflict of interest. (Filing No.
14). The defendant is eligible for appointed counsel pursuant to the Criminal Justice Act,
18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan for the District of
Nebraska.

      IT IS ORDERED:

      1)     Defense counsel's motion to appoint new counsel, (filing no. 14), is
             granted.    Jon Braaten is hereby withdrawn as counsel, and he shall
             promptly notify the defendant of the entry of this order.

      2)     The clerk shall delete Jon Braaten from any future ECF notifications herein.

      3)     The clerk shall forward this memorandum and order to the Federal Public
             Defender.

      4)     The Federal Public Defender shall forthwith provide the court with a draft
             appointment order (CJA Form 20) bearing the name and other identifying
             information of the CJA Panel attorney identified in accordance with the
             Criminal Justice Act Plan for this district.

      5)     The newly appointed counsel shall promptly file an entry of appearance on
             behalf of the defendant.
4:15-cr-03101-RGK-CRZ   Doc # 15   Filed: 10/01/15   Page 2 of 2 - Page ID # 21




    October 1, 2015.


                                        BY THE COURT:
                                        s/ Cheryl R. Zwart
                                        United States Magistrate Judge




                                    2
